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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     BECKLEY DIVISION


UNITED STATES OF AMERICA,

                              Plaintiff,

v.                                                  CRIMINAL ACTION NO. 5:02-cr-00101-03

CRUSO R. WALLACE,

                              Defendant.


                 MEMORANDUM OPINION AND JUDGMENT ORDER

       Pending before the Court is a motion, brought pursuant to 18 U.S.C. § 3582(c)(2), to reduce

Defendant’s sentence based on a subsequent reduction in the applicable sentencing guideline. On

November 1, 2010, pursuant to the Fair Sentencing Act of 2010, the United States Sentencing

Guidelines were amended resulting in reductions in the guidelines in Section 2D1.1 for cocaine

base. These temporary, emergency amendments to the Guidelines took effect on November 1, 2010.

Permanent amendments implementing the Act were promulgated on April 6, 2011, with an effective

date of November 1, 2011. Subsequently, the Sentencing Commission voted to give retroactive

effect to the permanent amendments. Pursuant to a Standing Order entered on October 7, 2011, this

case was designated for Standard consideration.

       The Court has received and considered the original Presentence Investigation Report (PSI),

original Judgment and Commitment Order and Statement of Reasons, plea agreement, and

addendum to the PSI from the Probation Office, and any representations made by the parties on this

issue. The Court has also considered the applicable factors under 18 U.S.C. § 3553(a), consistent

with § 3582(c)(2), and public safety.
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          The United States has indicated to the Court that it does not object to the reduction ordered

herein.

          Based on the foregoing considerations, the Motion is GRANTED. The Court ORDERS that

Defendant’s base offense level be reduced by 2 levels, resulting in a new total offense level of 32.

It is further ORDERED that Defendant’s previous sentence be reduced to a period of 121 months,

with credit for time served to date. This Order is subject to the prohibition contained within

U.S.S.G. §1B1.10(b)(2)(C).

          IT IS SO ORDERED.

          The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and counsel,

the United States Attorney, the United States Probation Office, and the United States Marshal.

                                                ENTER:          October 27, 2011




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